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EXHIBIT B
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Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

J.R.G., et al.,

Plaintiffs,
v.

UNITED STATES OF AMERICA,
Defendant.

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I, Julianna Rivera Maul, declare as follows:

OAKLAND DIVISION

CASE NO. 4:22-cv-05183-KAW

DECLARATION OF JULIANNA RIVERA
MAUL IN SUPPORT OF THE MOTION TO
APPROVE SETTLEMENT INVOLVING
CLAIMS OF A MINOR

1. Iam an attorney at law licensed to practice before the States of California and Michigan, and

admitted to practice before the United States Northern District of California.

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10.

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I am an attorney of record for Plaintiffs J.R.G. and M.A.R. along with Matt Adams, Aaron
Korthuis, Glenda M. Aldana Madrid, and Leila Kang, from the Northwest Immigrant Rights
Project.

I have personal knowledge of the facts provided in this declaration.

I am the principal attorney at the Law Office of Julianna Rivera, P.C.

My California Bar Number is 290955.

Co-counsel and I have diligently litigated this matter and have been able to reach an agreement
with Defendant to settle Plaintiffs’ claims.

As understood by the terms in Exhibit A, J.R.G. would receive $150,000, and her minor
daughter M.A.R. would receive $150,000, for a total of $300,000 under this agreement.

On information and belief, the settlement total in this case is higher than settlement amounts for
actively litigated claims for similarly situated plaintiffs separated at the southern border. See,
e.g., A.LLL. et al. v. United States, Civil Action No. 19-cv-00481-TUC-JCH (D. Ariz.), Dkt. 133,
134.

In discussing this matter with J.R.G., J.R.G. believes the settlement is in the best interest of
M.A.R. as it will avoid further litigation that would require them to re-live their separation and
re-traumatize M.A.R. and herself.

Considering the above, co-counsel and | believe this settlement is fair, reasonable, and in the best

interests of M.A.R.

. Per our retainer agreement with Plaintiffs and the settlement with Defendant, plaintiffs’ fees are

25% of the settlement award. Accordingly, if the proposed settlement is approved, Plaintiffs’
counsel would seek to recover $37,500 (25% of $150,000) from the amount awarded to M.A.R.

Plaintiffs’ counsel does not seek to recover any costs.

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12. Upon court approval, | will arrange for the deposit of $112,500, M.A.R.’s portion of the
settlement, into an interest-bearing, federally insured blocked account at Chase Bank, where The
Law Office of Julianna Rivera, P.C. does its banking. This account will belong to M.A.R.
M.A.R. will be entitled to receive these funds once she has reached the age of eighteen.

13. We have met and conferred with Defendant’s counsel regarding this motion and Defendant does

not oppose the relief sought herein.

I declare under penalty of perjury that the foregoing is true and correct. Executed on May 2, 2024, in
Oakland, California.

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